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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

JOHN DOE, an individual,

       Plaintiff,

vs.
                                                        Case No.: 18-cv-11776
                                                        Hon. Arthur J. Tarnow
UNIVERSITY OF MICHIGAN (as to Title IX
                                                        Mag. Elizabeth A. Stafford
violations), BOARD OF REGENTS OF THE
UNIVERSITY OF MICHIGAN, a
constitutional corporate body (as to Title IX &
ELCRA violations), PAMELA HEATLIE,
ROBERT SELLERS, MARTIN PHILBERT,                           PLAINTIFF’S MOTION
ERIK WESSEL, LAURA BLAKE JONES, E.                            FOR PARTIAL
ROYSTER HARPER, SUZANNE                                    SUMMARY JUDGMENT
MCFADDEN, and PAUL ROBINSON,                                  PURSUANT TO
employees of the University of Michigan, sued in             FED. R. CIV. P. 56
his or her personal and official capacities, jointly
and severally,

       Defendants.

DEBORAH GORDON LAW                               SAUL EWING ARNSTEIN &
Deborah L. Gordon (P27058)                       LEHR LLP
Elizabeth A. Marzotto Taylor (P82061)            Joshua W. B. Richards
Attorneys for Plaintiff                          Amy L. Piccola
33 Bloomfield Hills Parkway, Suite 220           Attorneys for Defendants
Bloomfield Hills, Michigan 48304                 1500 Market Street, 38th Floor
(248) 258-2500                                   Philadelphia, Pennsylvania 19102
dgordon@deborahgordonlaw.com                     (215) 972-7737
emarzottotaylor@deborahgordonlaw.com             Joshua.richards@saul.com
                                                 Amy.piccola@saul.com
                                                 MILLER, CANFIELD, PADDOCK
                                                 AND STONE, P.L.C.
                                                 Brian M. Schwartz (P69018)
                                                 Attorney for Defendants
                                                 150 W. Jefferson, Suite 2500
                                                 Detroit, Michigan 48226
                                                 (313) 963-6420
                                                 schwartzb@millercanfield.com
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       NOW COMES Plaintiff John Doe, by and through his attorneys Deborah

 Gordon Law, and files his Motion for Partial Summary Judgment as to Count I of

 his Second Amended Complaint (Dkt. # 47). Plaintiff respectfully requests an

 Order from this Court granting Partial Summary Judgment as to Count I and

 further ordering that:

       a. Defendants’ February 7, 2018 Policy, under which they began

           adjudicating an OIE complaint against Plaintiff, was unconstitutional and

           that Defendants are enjoined from using it;

       b. In that credibility is at stake, Defendants must provide Plaintiff a live

           hearing and the opportunity to cross-examine adverse witnesses in front

           of a neutral fact-finder;

       c. Defendants are enjoined from placing a “hold” on Plaintiff’s student

           account or withholding Plaintiff’s certified transcripts or degree prior to a

           final adjudication against him;

       d. Defendants shall not impose a pre-hearing suspension or other serious

           penalty prior to a final adjudication against Plaintiff, except where the

           risk of health and safety of other students is deemed emergent and

           extraordinarily high;




                                             1
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       e. If there is an appeal of a decision made in favor of Plaintiff, the appellate

           reviewer shall not make credibility findings without having seen or heard

           directly from any parties or witnesses; and

       f. The appellate reviewer may not increase the sanctions issued against

           Plaintiff by the University but may only decrease the sanctions.

 Plaintiff sought Defendants’ concurrence for this Motion on June 7, 2019.

       WHEREFORE, Plaintiff requests that this Honorable Court enter an Order

 Granting Plaintiff’s Partial Motion for Summary Judgment and the above

 requested relief.

                                        Respectfully submitted,

                                        DEBORAH GORDON LAW
                                        /s/Deborah L. Gordon (P27058)
                                        Elizabeth A. Marzotto Taylor (P82061)
                                        Attorneys for Plaintiff
                                        33 Bloomfield Hills Parkway, Suite 220
                                        Bloomfield Hills, Michigan 48304
 Dated: June 10, 2019                   (248) 258-2500
                                        dgordon@deborahgordonlaw.com
                                        emarzottotaylor@deborahgordonlaw.com




                                           2
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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

JOHN DOE, an individual,

       Plaintiff,

vs.
                                                        Case No.: 18-cv-11776
                                                        Hon. Arthur J. Tarnow
UNIVERSITY OF MICHIGAN (as to Title IX
                                                        Mag. Elizabeth A. Stafford
violations), BOARD OF REGENTS OF THE
UNIVERSITY OF MICHIGAN, a
constitutional corporate body (as to Title IX &
ELCRA violations), PAMELA HEATLIE,
ROBERT SELLERS, MARTIN PHILBERT,                           PLAINTIFF’S BRIEF IN
ERIK WESSEL, LAURA BLAKE JONES, E.                           SUPPORT OF HIS
ROYSTER HARPER, SUZANNE                                    MOTION FOR PARTIAL
MCFADDEN, and PAUL ROBINSON,                               SUMMARY JUDGMENT
employees of the University of Michigan, sued in              PURSUANT TO
his or her personal and official capacities, jointly         FED. R. CIV. P. 56
and severally,

       Defendants.

DEBORAH GORDON LAW                               SAUL EWING ARNSTEIN &
Deborah L. Gordon (P27058)                       LEHR LLP
Elizabeth A. Marzotto Taylor (P82061)            Joshua W. B. Richards
Attorneys for Plaintiff                          Amy L. Piccola
33 Bloomfield Hills Parkway, Suite 220           Attorneys for Defendants
Bloomfield Hills, Michigan 48304                 1500 Market Street, 38th Floor
(248) 258-2500                                   Philadelphia, Pennsylvania 19102
dgordon@deborahgordonlaw.com                     (215) 972-7737
emarzottotaylor@deborahgordonlaw.com             Joshua.richards@saul.com
                                                 Amy.piccola@saul.com
                                                 MILLER, CANFIELD, PADDOCK
                                                 AND STONE, P.L.C.
                                                 Brian M. Schwartz (P69018)
                                                 Attorney for Defendants
                                                 150 W. Jefferson, Suite 2500
                                                 Detroit, Michigan 48226
                                                 (313) 963-6420
                                                 schwartzb@millercanfield.com
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  I.   INTRODUCTION

       Count I of Plaintiff’s Second Amended Complaint alleges a violation of 42

 U.S.C. §1983. Defendants violated Plaintiff’s due process rights when they began

 adjudicating a sexual misconduct complaint brought against him under the

 February 7, 2018 University Sexual Misconduct Policy (“Policy” or “2018

 Policy”) that was, at the time it was implemented, flatly unconstitutional and which

 has since been adjudicated to be unconstitutional by this Court and the Sixth

 Circuit Court of Appeals. In addition, pursuant to the Policy and based only on a

 mere allegation, Defendants placed an indefinite hold on Plaintiff’s earned degree

 and transcript. The facts and law are uncontested. There are no materials to which

 Defendants can cite to establish any issue of fact or law. As such, Plaintiff seeks

 summary judgement as to Count I, procedural due process, as set forth in his

 Second Amended Complaint.

       Plaintiff now respectfully requests an Order from this Court granting Partial

 Summary Judgment as to Count I and further ordering that:

       a. Defendants’ February 7, 2018 Policy, under which they began

          adjudicating an OIE complaint against Plaintiff, was unconstitutional and

          that Defendants are enjoined from using it;




                                          1
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       b. In that credibility is at stake, Defendants must provide Plaintiff a live

          hearing and the opportunity to cross-examine adverse witnesses in front

          of a neutral fact-finder;

       c. Defendants are enjoined from placing a “hold” on Plaintiff’s student

          account or withholding Plaintiff’s certified transcripts or degree prior to a

          final adjudication against him; 1

       d. Defendants shall not impose a pre-hearing suspension or other serious

          penalty prior to a final adjudication against Plaintiff, except where the

          risk of health and safety of other students is deemed emergent and

          extraordinarily high; 2

       e. If there is an appeal of a decision made in favor of Plaintiff, the appellate

          reviewer shall not make credibility findings without having seen or heard

          directly from any parties or witnesses; and

       f. The appellate reviewer may not increase the sanctions issued against

          Plaintiff by the University but may only decrease the sanctions.3



 1
   This is currently allowed for in the January 9, 2019 “Interim Policy” (Interim
 Policy, Dkt. # 47-3, Page ID 1437-1439), creating a “‘substantial risk’ that the
 harm will occur” in the future. Clapper v. Amnesty Intern. USA, 568 U.S. 398, 414
 n. 5 (2013).
 2
   Id.
 3
    The Interim Policy dated January 9, 2019 currently allows for the sanctions
 against Respondent to be increased on appeal by an “external reviewer” not
 connected to the University. (Interim Policy, Dkt. # 47-3, Page ID 1470).
                                              2
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 II.   STATEMENT OF FACTS

       On September 25, 2017, the United States Court of Appeals for the Sixth

 Circuit issued its Opinion in Doe v. Univ. of Cincinnati (“Cincinnati”), 872 F.3d

 393 (6th Cir. 2017), holding that where credibility is at stake, a live hearing and

 some form of live cross-examination is required.

       On February 7, 2018, the University issued a new Sexual Misconduct

 Policy. This Policy intentionally did not comply with Cincinnati, which had been

 decided months earlier, and explicitly denied students accused of sexual

 misconduct procedural due process protections of live hearings or the ability to

 cross-examine adverse witnesses in any manner. (Policy, Dkt. # 4-2, Page ID #

 206-216). Accused students were not permitted to have a hearing or engage in

 cross-examination at the OIE or before the Appeals Board, if the matter was

 appealed. (Id., Page ID # 21-219).      Rather, the “process” only permitted the

 accused and accuser to provide a statement, to review and submit comments about

 their own statements and be provided with a summary of other information

 collected during the investigation. (Id., Page ID # 211). If there was an appeal, the

 appellate officer could make a final decision against the respondent without ever

 having heard from him, the Claimant or any witnesses. (Id., Page ID # 218.)

       At the same time, the University had a starkly disparate process for students

 accused of all forms of non-sexual misconduct. These students were entitled to a

                                          3
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 hearing and an opportunity to cross-examine adverse witnesses. (Statement of

 Student Rights and Responsibilities, Dkt. # 4-1, Page ID # 169-171) (“[d]uring the

 hearing, the [hearing officer], respondent, complainant and student panelists (if

 applicable) have the right to question the complainant and the [hearing officer].

 These participants [could] also question (1) the respondent, if the student choose[]

 to participate and (2) any witnesses who ha[d] presented information”).

       On March 12, 2018, a female student filed an OIE complaint against

 Plaintiff alleging that Plaintiff had a sexual encounter with her that was

 nonconsensual. Plaintiff stated that it was consensual. There were no witnesses to

 the encounter. The University began an adjudication of the OIE complaint using

 the unconstitutional February 7, 2018 Policy, under which expulsion from the

 University was a potential penalty, and denied Plaintiff notice of the Claimant’s

 allegations. (Second Amended Complaint, Dkt. # 47, Page ID # 1337-1338; 61-

 64). Plaintiff was only told during his initial interview that he had been accused of

 engaging in non-consensual sex. Id.

       By April 2018, Plaintiff had earned all of the credits to graduate cum laude

 with a degree in engineering. The investigation was ongoing, but based only on a

 mere allegation, no hearing and no findings, the University placed a hold of

 indefinite duration on his degree and transcript, depriving him of his property

 interest in his education without due process. (Complaint, Dkt. # 1, Page ID 10).


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       On June 4, 2018, Plaintiff filed this lawsuit against Defendants based on the

 violation of his due process rights.

       On June 5, 2018, Plaintiff filed a Motion for Temporary Restraining Order

 and Preliminary Injunction (Motion for TRO & PI, Dkt. # 4, Page ID # 133-162),

 requesting that this Court immediately enjoin Defendants from: 1) withholding

 Plaintiff’s official transcript and degree; 2) continuing their unconstitutional

 investigation into whether Plaintiff violated the Policy, as well as the sanctions and

 appeals process under the Policy; and 3) continuing to use their unconstitutional

 Policy.

       On June 14, 2018, this Court granted Plaintiff’s Motion as to his demand

 that the University release and provide him with his transcript. This Court further

 held the remaining issues to be decided after a hearing. (Order, Dkt. # 19, Page ID

 # 269-270).

       On July 6, 2018, this Court, after hearing the remaining issues in Plaintiff’s

 TRO, granted in part and denied in part Plaintiff’s Motion (Order, Dkt. # 30, Page

 ID # 726-744). The Court ordered that the University provide Plaintiff “with the

 procedures set forth in its Statement of Student Rights and Responsibilities,

 excluding the provision in Stage 2, ¶ C, which authorizes the respondent to

 question the complainant directly.” (Id., Page ID # 744). This Court explained that




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 “Plaintiff may question Claimant through the RO, RC, or Student Resolution

 Panel” only. (Id).

        On July 25, 2018, Defendants appealed this Court’s July 6, 2018 Order

 granting Plaintiff’s preliminary injunction (Defendants’ Notice of Appeal, Dkt. #

 32, Page ID # 818-820) to the United States Court of Appeals for the Sixth Circuit

 (Case 18-1870). Defendants also argued in their Brief to the Sixth Circuit that

 Plaintiff lacked standing and that his claims were not “ripe.” (Case 18-1870, RE

 23).

        On August 7, 2018, Plaintiff cross-appealed the same Order, which denied

 him the opportunity to verbally cross-examine witnesses during a live hearing

 (Plaintiff’s Notice of Cross-Appeal, Dkt. # 36, Page ID # 1067-1069), to the Sixth

 Circuit (Case 18-1903). On August 22, 2018, this Court granted Defendants’

 Motion to Stay Pending Appeal (Order, Dkt. # 41, Page ID 1260-1262).

        On September 7, 2018, in Doe v. Baum, et al, 903 F.3d 575 (6th Cir. 2018),

 the Sixth Circuit issued its Opinion, holding in pertinent part, that Defendants’

 Policy, similar to that used to adjudicate the complaint brought against Plaintiff

 beginning on March 20, 2018, violated “well-established” due process standards,

 and finding:

        “if a public university has to choose between competing narratives to
        resolve a case, the university must give the accused student or his
        agent an opportunity to cross-examine the accuser and adverse
        witnesses in the presence of a neutral fact-finder. Because the
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       University of Michigan failed to comply with this rule, we
       reverse.” Id. at 578 (emphasis added).

       On September 24, 2018, the Baum Defendants filed a Petition for Rehearing

 and Rehearing En Banc, (Case 17-2213, RE 49-1), and admitted that their Policy

 was unconstitutional. On October 11, 2018, the Court denied the University’s

 Petition for Rehearing. (Case 17-2213, RE 56-1).

       On January 9, 2019, under pressure from this Court’s July 6, 2018 Order and

 the subsequent Baum decision, the University replaced its unconstitutional 2018

 Policy adjudicating sexual misconduct allegations with a January 9, 2019 Interim

 Policy, because, as publicly conceded by University President Mark Schlissel on

 January 29, 2019, “the current law,” required such a policy change. (Second

 Amended Complaint, Dkt. # 47, Page ID 1341).

       On April 10, 2019, the Sixth Circuit issued its Order vacating this Court’s

 preliminary injunction, which allowed Plaintiff to cross-examine the Claimant

 during the University’s hearing process via written questions posed by a University

 official and remanding the case for reconsideration in light of Baum and the

 University’s 2019 Interim Policy. (Order, RE 35-1, Case 18-1870). The Court

 declined to address the University’s standing and ripeness argument and did not

 instruct this court to do so on remand. To the contrary, the remand was limited to

 the issues presented by Baum and the Interim Policy.


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 III.   ARGUMENT

        A.     Legal Standard

        Federal Rule of Civil Procedure 56(a) states, “The court shall grant summary

 judgment if the movant shows that there is no genuine dispute as to any material

 fact and the movant is entitled to judgment as a matter of law.” It is well-settled

 that the existence of a “mere scintilla of evidence” supporting a party’s position

 will not suffice. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1968).

        B.     Defendants’ Qualified Immunity Argument (Dkt. # 49) Does Not
               Preclude Injunctive, Equitable or Declaratory Relief.

        In this Motion Plaintiff seeks only non-monetary relief, specifically

 equitable relief. This relief is not affected by the defense of qualified immunity, as

 addressed in Defendants’ Motion to Dismiss Plaintiff’s Second Amended

 Complaint (Dkt. # 49) 4. Smith v. Leis, 407 F. App’x 918, 930 (6th Cir. 2011) (“[A]

 court could award both declaratory and injunctive relief in an action against a

 defendant protected by qualified immunity.”); Collyer v. Darling, 98 F.3d 211, 222

 (6th Cir. 1996) (“[I]mmunity only precludes claims for monetary damages against

 officials in their individual capacities, and not claims for injunctive or declaratory

 relief.”).   As such, qualified immunity is in no way a bar to the granting of this

 motion and the relief requested at this point. Plaintiff reserves the right to seek

 4
  Plaintiff will respond to this motion and the arguments made in it in accordance
 with the Court Rules.
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 other remedies at a later time after further briefing and factual development, if

 necessary.

       C.      There is No Question of Fact as to Whether Defendants’ February
               7, 2018 Policy Was Constitutionally Deficient.

               1.    Public School University Students Are Entitled to Cross-
                     Examine Adverse Witnesses Where the Accused has Not
                     Admitted to the Alleged Misconduct.

       The University has been explicitly ordered by the Sixth Circuit to “give the

 accused student or his agent an opportunity to cross-examine the accuser and

 adverse witnesses in the presence of a neutral fact-finder” if there are “competing

 narratives.” Baum, 903 F.3d at 578. In fact, that Court explained that in “sexual

 misconduct cases,” the University may either permit the accused student to

 personally cross-examine adverse witnesses or may allow the “accused student’s

 agent” to conduct the cross-examination. Id. at 583. The Court further held:

            • “Cross-examination is essential in cases like Doe’s because it
              does more than uncover inconsistencies –it ‘takes aim at
              credibility like no other procedural device.’” Id. 582 (emphasis
              added).

            • “…[T]he university must allow for some form of live
              questioning in front of the fact-finder.” Id. at 583.

            • “ So if a university is faced with competing narratives about
              potential misconduct, the administration must facilitate some
              form of cross-examination in order to satisfy due process” Id. at
              581.

            • “As it turns out, the university already provides for a hearing
              with cross-examination in all misconduct cases other than those
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              involving sexual assault. So the administration already has all
              the resources it needs to facilitate cross-examination and knows
              how to oversee the process. And, importantly, the university
              identifies no substantial burden that would be imposed on it if it
              were required to provide an opportunity for cross-examination
              in this context.” Baum, 903 F.3d at 582.

        Based on the foregoing citations from Baum, the law of this Circuit is clear;

 where credibility is at stake, a live hearing and cross-examination is required, and

 the Policy under which Defendants began adjudicating the OIE complaint against

 Plaintiff, causing him to file his federal complaint against Defendants, lacked these

 components. This is what Plaintiff argued in his original Motion for Temporary

 Restraining Order and Preliminary Injunction (Motion for TRO & PI, Dkt. # 4,

 Page ID 133-162).

       It is further evident from the Sixth Circuit’s ruling that if a decision is made

 in favor of the respondent, the appellate reviewer may not reverse the decision

 made by “the initial investigator who actually interviewed all of the[] witnesses

 [and] found in favor of [respondent]” and make “credibility findings on a cold

 record.” Baum, 903 F.3d at 586. Such a finding violates a respondent’s due process

 rights as the reviewer has not been privy to the wealth of material, information and

 interviews as the initial investigator.

       Moreover, Defendants have conceded that pre-Baum Policies, including the

 one used in Plaintiff’s investigation, was unconstitutional. Facts or legal argument

 to the contrary were neither included in Defendants’ Brief on Appeal in this case
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 (Case 18-1870, RE 23) nor their recently filed Motion to Dismiss (Dkt. # 49).

 Defendants have entirely failed to make the argument that their Policy complied

 with Cincinnati, much less Baum. In fact, Defendants flatly admitted to the

 Policy’s unconstitutionality in their Petition for Rehearing en banc in Doe v. Baum:

 “Appellees are no longer contesting whether the investigative model they have

 used to date is sufficient, and understand that they must provide students in

 Title IX cases with a live hearing including cross- examination.” (Defendants’

 Petition for Rehearing, Doe v. Baum, Case 17-2213, RE 49 at 8) (emphasis added).

       Similarly, on January 29, 2019, University President Mark Schlissel publicly

 conceded that the University replaced its unconstitutional 2018 Policy on January

 9, 2019 with an Interim Policy, which Defendants purport to be constitutional,

 because “the current law,” (Baum), required such a policy change.

       There is absolutely no genuine issue as to any material fact; it is uncontested

 that credibility is an issue in this OIE complaint; the February 7, 2018 Policy was

 being used to adjudicate the complaint; and the 2018 Policy was constitutionally

 deficient and did not allow for any form of cross-examination.

                   2.     This Court Has Ruled That the Policy Was
                          Unconstitutional and That This Case Rested on a
                          “[C]redibility [D]etermination[].”

       This Court, in its July 6, 2018 Order granting in part and denying in part

 Plaintiff’s Motion for Temporary Restraining Order and Preliminary Injunction


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 (Motion for TRO & PI, Dkt. # 4), recognized the unconstitutionality of

 Defendants’ Policy. The Court held:

       Unlike the policies which the Sixth Circuit has upheld, this Policy
       deprives Plaintiff of a live hearing and the opportunity to face his
       accuser. Because of the University’s method of private
       questioning through the investigator, Plaintiff has no way of
       knowing which questions are actually being asked of Claimant or
       her response to those questions. Without a live proceeding, the
       risk of an erroneous deprivation of Plaintiff’s interest in his
       reputation, education, and employment is significant.

 (Order, Dkt. # 30, Page ID 739) (emphasis added). This Court held that this case

 involves “credibility determinations.” (Order, Dkt. # 30, Page ID 738).

       D.     There is No Question of Fact as to Whether Defendants Deprived
              Plaintiff of his Property Interest in His Education.

       As addressed above, once Defendants received Complainant’s sexual

 misconduct complaint against Plaintiff, they placed an indefinite hold on Plaintiff’s

 official transcript and his engineering degree, depriving him of his property interest

 in his education. After Plaintiff filed this lawsuit and a Motion for TRO and PI

 (Dkt. # 4, Page ID # 133-162), this Court ordered that Plaintiff be provided with

 his official transcript and degree. (See June 14, 2018 Order, Dkt. # 19, Page ID #

 269-270) (granting Plaintiff’s Motion as to his demand that the University release

 and provide him with his transcript).

       There is no question of fact as to whether Defendants deprived Plaintiff of

 his property interest in his degree and his official transcript. The Interim Policy


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 continues to allow Defendants to deprive Plaintiff of his property prior to a hearing

 or any adjudication of the complaint against him.

 IV.   CONCLUSION

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court

  enter an Order Granting Plaintiff’s Motion for Partial Summary Judgment as to

  Count I, as well as the relief set forth on pages one to two of Plaintiff’s Brief.

 Dated: June 10, 2019                     Respectfully submitted,

                                          DEBORAH GORDON LAW
                                          /s/Deborah L. Gordon (P27058)
                                          Elizabeth A. Marzotto Taylor (P82061)
                                          Attorneys for Plaintiff
                                          33 Bloomfield Hills Parkway, Suite 220
                                          Bloomfield Hills, Michigan 48304
                                          (248) 258-2500
                                          dgordon@deborahgordonlaw.com
                                          emarzottotaylor@deborahgordonlaw.com

                            CERTIFICATE OF SERVICE
        I hereby certify that on June 10, 2019, I electronically filed the foregoing
 document with the Clerk of the Court using the ECF system, which will send
 notification of such filing and service of said documents to all parties through their
 counsel of record.
                                         DEBORAH GORDON LAW
                                         /s/Deborah L. Gordon (P27058)
                                         Elizabeth A. Marzotto Taylor (P82061)
                                         Attorneys for Plaintiff




                                            13
